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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                        Case Number: 23-mc-32 (APM)
 PRAKAZREL MICHEL,

                              Defendant.



                                   [PROPOSED] ORDER


       This matter comes before the Court pursuant to the Consent Motion to Continue Status

Conference. For the reasons set forth in the Consent Motion, the motion is GRANTED.

       The status conference presently scheduled for July 12, 2023, is VACATED and the

status conference is rescheduled for the ____ day of September, 2023, at _______.



                                                             ____________________________
                                                                                  Amit P. Mehta
                                                              United States District Court Judge

Dated:_______________________
